            Case 3:10-cr-03089-BTM                      Document 269               Filed 11/03/14             PageID.2930              Page 1 of 4
      ~AO 245B (CASD) (Rev. 8/11)    Judgment in a Criminal Case
                 Sheet I

                                                                                                                                    I4BV 8        ~814

                                                UNITED STATES DISTRICT COURT
                                                    SOUTHERN DISTRICT OF CALIFORNIA                                    ~.
                      UNITED STATES OF AMERICA                                       JUDGMENT AFTER REMAND
                                          v.                                         (For Offenses Committed On or After November I, 1987)

                             DEVIN MATSON [3]                                        Case Nnmber: IOCR3089-BTM
                                                                                     DAVID SCHLESINGER
                                                                                     Defendant's Attorney
      REGISTRATION NO. 21834298

      o
      THE DEFENDANT:
      181 pleaded guilty to count(s) I OF THE SUPERSEDING INFORMATION
      o     was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
            after a plea of not guilty.
            Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                              Count
      Title & Section                          Nature of Offense                                                                             Number(s)
18:922(g)(1) and 924(a)(2)             FELON IN POSSESION OF A FIREARM




1&1 The Judgment entered on July 5, 2013 is vacated. The convictions on counts 1,2 and 3 of the Superseding Indictment are vacated.
         The defendant is sentenced as provided in pages 2 through      4     of this judgment. The sentence is imposed pursuant
  to the Sentencing Reform Act of 19114.
  o    The defendant has been found not guilty on count(8) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
  181 Count(s) Underlying Indictment and Superseding Indictment                  is 0     arel8l dismissed on the motion of the United Sljltes.
  181 Assessment: $100 to be paid at the rate of$25.00 per quarter through the Inmate Financial Responsibility Program unless already paid.

  181 Fine waived                                    o    Forfeiture pursuant to order filed                                    , incorporated herein.
        IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
  or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
  defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.               I




                                                                                OCTOBER 20, 2014




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AO 245B (CASD) (Rev. 8/11) Judgment in a Criminal Case
           Sheet 2 - Imprisonment

                                                                                                  Judgment -   Page    2    of      4
DEFENDANT: DEVIN MATSON [3]
CASE NUMBER: lOCR3089-BTM
                                                           IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for ~ term of
          NINETY-SIX (96) MONTHS.

                                                                                                ~~eJ~
                                                                                                 BARRY TED MOSKOWITZ
     o   Sentence imposed pursuant to Title 8 USC Section 1326(b).                               UNITED STATES DISTRICT JUDGE
     181 The court makes the following recommendations to the Bureau of Prisons:
         That the defendant participate in the 500 hour RDAP program. that the defendant serve his sentence at FCI Terminal Island
         or an institution in Southern California to facilitate family visitation.



     o   The defendant is remanded to the custody of the United States Marshal.

     o   The defendant shall surrender to the United States Marshal for this district:
           Oat                                    Oa.m.       Op.m.        on _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

     o   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o   befure _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _.______

          o    as notified by the United States Marshal.
          o    as notified by the Probation or Pretrial Services Office.


                                                                 RETURN

I have executed this judgment as follows:

         Defendant delivered on                                                     to

at                                                   with a certified copy of this judgment.


                                                                                                UNITED STATES MARSHAL

                                                                      By
                                                                                          DEPUTY UNITED STATES MARSHAL




                                                                                                                           lOCR3089-BTM
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AO 2458 (CASD) (Rev.8/ll) Judgment in a Criminal Case
           Sheet 3 - Supervised Release
                                                                                                             Judgment-Page        3      of        4
DEFENDANT: DEVIN MATSON [3]                                                                          II
CASE NUMBER: lOCR3089-BTM
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offimses committed 011 or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use ofa controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          --

o      The above drug testing condition is suspended, based on the court's detennination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)

181 The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
181 The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
    Backlog Elimination Act of2000"pursuant to 18 USC sections 3563(a)(7) and 3583(d).
o by the probation officer, the Bureau of Pdsons, or any state sex offender registration agency in which he or she resides,§ works, is a student, or
       The derendant shall comply with !lie requirements of the Sex Offender Registration and Notification Act (42 U.S.C.    16901, et seq.) as directed

       was convicted of a qualifYing offense. (Check if applicable.)
o The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such" fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply- with
any special conditions imposed.

                                       ST ANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer in a manner and frequency directed by the court Of probation officer;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unJess excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
 10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;
 II)    the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)    the defendant shaH not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
 13)    as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal
        record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
        defendant's compliance with such notification requirement.

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       AO 245B (CASD) (Rev. 8/11) Judgment in a Criminal Case
                   Sheet 4 - Special Conditions
                                                                                                         Judgment-Page   ----i...- of _-"4,-_ _
        DEFENDANT: DEVIN MATSON [3]                                                                 D
        CASE NUMBER: lOCR3089-BTM




                                              SPECIAL CONDITIONS OF SUPERVISION
181 Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall wam any other residents that the premises may be subject to searches pursuant to
    this condition.

181 Participate in a program of drug or alcohol abuse treatment including testing and counseling, with at least I to 8 tests per month and I to 8
    counseling sessions per month as directed by the probation officer.
D Not transport, harbor, or assist undocumented aliens.
D Not associate with undocumented aliens or alien smugglers.
D Not reenter the United States illegally.
181 Not enter the Republic of Mexico without written permission of the Court or probation officer.
181 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
181 Not possess any narcotic drug or controlled substance without a lawful medical prescription.
181 Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
181 Participate in a program of mental health treatment as directed by the probation officer. The Court authorizes the release of the pre-sentence
    report and available psychological evaluations to the mental health provider, as approved by the probation officer. The defendant shall
    consent to the release of evaluations and treatment information to the probation officer and the Court by the mental health provider.



181 Take all medications prescribed and not discontinue the medication without permission of the treating doctor.
D Abstain from all use of Alcohol.
D Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of days upon release. This is a non punitive
    placement.
D Seek and maintain full time employment and/or schooling or a combination of both.
D Resolve all outstanding warrants within        days.
D Complete          hours of community service in a program approved by the probation officer within
D
D If deported, excluded, or allowed to voluntarily leave the United States, obey all laws federal, state and local and not reenter the United
    States illegally and report to the probation officer within 72 hours of any reentry to the United States; the other conditions of supervision arc
    suspended while the defendant is out of the United States after deportation, exclusion, or voluntary departure.

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